Case 2:20-cv-10158-CAS-KES Document 6 Filed 01/08/21 Page 1 of 1 Page ID #:28



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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11    MOKEY MOSE,                                  Case No. 2:20-cv-10158-CAS-KES
12                 Petitioner,
13          v.                                                JUDGMENT

14    UNITED STATES OF AMERICA,
15                 Respondent.
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18         Pursuant to the Court’s Order Accepting Report and Recommendation of
19   U.S. Magistrate Judge,
20         IT IS ADJUDGED that Ground One of the Petition is dismissed with
21   prejudice, and Ground Two of the Petition is dismissed without prejudice to
22   Petitioner raising the claim in a civil rights action under 42 U.S.C. § 1983.
23
24   DATED: January 8, 2021                 __                       _________
25                                          CHRISTINA A. SNYDER
                                            UNITED STATES DISTRICT JUDGE
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